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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
LOLA LUCIO,

             Plaintiff,
                                                     Case No. 4:19-cv-11771
v.
                                                     Hon. Mark A. Goldsmith
CHARLES EDMONDS,

             Defendant.
 Pete M. Monismith (P78186)                  Brett A. Rendeiro (P64792)
 Attorney for Plaintiff                      Butzel Long, a professional corporation
 3945 Forbes Ave., #175                      Attorneys for Defendant
 Pittsburgh, PA 15213                        Stoneridge West
 (724) 610-1881                              41000 Woodward Avenue
 pete@monismithlaw.com                       Bloomfield Hills, Michigan 48304
                                             (248) 258-1616
                                             rendeiro@butzel.com



        STIPULATED ORDER DISMISSING DEFENDANT AND
     AUTHORIZING PLAINTIFF TO FILE AMENDED COMPLAINT

      This matter came before the Court on the parties’ stipulation. Defendant

Charles Edmonds’ counsel advised Plaintiff’s counsel that the restaurant at issue in

this matter is owned by Edmonds Enterprise, Inc., not Charles Edmonds. Plaintiff

agrees to dismiss Defendant Edmonds without prejudice, based on this

representation. Based on the parties’ stipulation, and for good cause shown,

      IT IS HEREBY ORDERED that Defendant Charles Edmonds is dismissed

without prejudice and without costs or fees to any party;

                                         1
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          IT IS FURTHER ORDERED that Plaintiff may file an Amended Complaint

within fourteen (14) days naming Edmonds Enterprise, Inc. as the Defendant.

          SO ORDERED.

Dated: August 7, 2019                      s/Mark A. Goldsmith
      Detroit, Michigan                    MARK A. GOLDSMITH
                                           United States District Judge


Stipulated as to form and content:

 By:     /s/ with consent of Pete M. By: /s/ Brett A. Rendeiro
 Monismith                           Brett A. Rendeiro (P64792)
 Pete M. Monismith (P78186)          Butzel     Long,     a    professional
 Attorney for Plaintiff              corporation Stoneridge West
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